 

l Case 2:14-cv-12249-SFC-P.]K ECF No. 1 filed 06/06/14 Page|D.l Page 1 of 100

l UNITED sTATEs DIsTRlCT CoURT / 77
l FoR THE EAsTERN DISTRICT oF MICHIGAN ;
William AIeXander, JURY TRIAL REQUESTED

Plaintiff,
Case:2:14-cv-12249
Judge: Co)<, Sean F.
NlJ: Komives, Pau| J.
V Filed; 06-06-2014 At 03:14 PlV|
CMP W|LL|AM ALEXANDER V GERALD ROSE

N, ET AL (LG)

Gerald Rosen
Cheryl A. Matthews
Michelle Endres
Suzanne Hollyer
David Hoffman
Lori Savin
Mary Kaye Neumann
IlyssaCimrnino
M Belill

Defendants

 

William Alexander (In Pro Per)
17515 W 9 Mile Rd.

Suite #980

Southiield, MI 48075

 

PLAINTIFFS’ ORIGINAL COMPLAINT - CIVIL RICO

COl\/IES NOW THE PLAINTIFF, William Alexander by and through his
own undersigned Counsel, initiates this civil action charging the defendants
With engaging in unlawful behavior synonymous With extortion, bribery and

mail fraud; Strict violations of 18 U.S.C. 96, the RICO STATUTE.

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STATEMENT OF RELATED CASES
This civil action arises out of repeated mishandling and suppression of
evidence regarding 6th Judicial Circuit Court Case 200735290-DS and

Federal Case 2:13-cv-11908.

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PRELIMINARY STATEMENT

1. This action arises out of unlawful behavior synonymous with
extortion, intimidation, tampering with a witness, conspiracy and
child abuse of Defendants Federal Judge Gerald Rosen, Oakland
County Judge Cheryl Matthews, Deputy Clerk Michelle Endres,
Gakland County Friend of the Court Director Suzanne Hollyer, Friend
of the Court Support Specialist IlyssaCimmino, Friend of the Court
Referee David Hoffman, Friend of the Court Referee Lori Savin,
Friend of the -Court Counselor Mary Katherine Neumann, and
Department of Human Services Representative M. Belill, in seeking
to suppress [three years] of evidence for the reason that Plaintiff is
disputing an unlawful debt, regarding 6th Judicial Circuit Court Case

200735290-DS and Federal Case 2:13-cv-11908.

2. F rom 2011-2014, Defendants refused to document evidence or initiate

an investigation, which would vindicate Plaintiff of steadily

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increasing arrearages. All evidence illustrates that minor child, has not
lived with mother since 2010. Defendants have offered no alternative
forms of relief, nor have they attempted to correct the problem.
Defendants insist upon placing undue burden upon Plaintiff for

“false” arrearage amounts

3. Plaintiff William Alexander, objects to the systematic discrimination
that so often accompanies interactions between Friend of the Court

Judicial officer’s and fathers.

4. The Defendants approach is a structured scheme, which obtains
property [a thing or things of value belonging to someone;] through

means of force, which is a conflict of State and Federal Law.

5. Plaintiff seeks declaratory judgment, injunctive relief, and
compensatory damages to end what is the unlawful extortion of
himself and others who accept this approach as, “normal”. Plaintiff
also seeks to guarantee that all families interested in assistance from

the Friend of the Court, have the equal opportunity to voice concerns,

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without regard to their gender or race, and take concerns before

judge’s, without conflict stemming from the aforementioned factors.

JURISDICTION AND VENUE

6. This is a Federal Question Case. This court has jurisdiction under18
U.S.C § 1964 (c) (Civil RICO), as this is an action where the Plaintiff
has been violated by behavior or behavioral patterns of racketeering as

established in section 1962 of the RICO STATUTE.

7. This Court also has supplemental jurisdiction over Plaintiffs’ state law
claims under 28 USC §1367 as these claims are intricater related to

Plaintiffs’ RICO claim and form part of the same case or controversy.

8. Additional jurisdiction is established pursuant to 28 U.S.C. § 1331.
This is an action where the Plaintiff is being deprived of rights,
privileges, or immunities secured by the Constitution and laws of the

government

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9. Venue is proper in accordance with 28 U.S.C. §1391 (b). Upon
information and belief, all parties are residents of the State of
Michigan and all of the acts alleged herein were perpetrated in or
around counties of Oakland and Wayne located within the State of

l\/Iichigan.

10.Declaratory relief is authorized pursuant to 28 U.S.C. § 2201 and 28
U.S. C. § 2202. A declaration of the law is necessary and appropriate
to determine the respective rights and duties of the parties to this

action.

1 1.The Defendants’ conduct constitutes a civil conspiracy to engage in
extortion, blackmail, and bribery in this district and all of the
Defendants were aware of, and consented to unlawful conduct in this

district which is part of the conduct on which Plaintiffs’ claims are

based.

12.The Defendants’ conduct constitutes a civil conspiracy to engage in

mail and wire fraud in this district and all of the Defendants were

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aware of, and consented to, this conduct in this district, which is part

of the conduct on which Plaintiffs’ claims are based.

13.Defendants have mailed in this district by U.S. mail to various third

parties, Plaintiffs incorrect debt amount in furtherance of the fraud.

14.The Defendants, have warped the Oakland County Friend of the
Court, and deviated from state and Federal laws in doing so; engaging
in extensive and systematic conduct in this district, with the intended

purpose of extorting and bribing Plaintiff out of $l8,960.

15.Defendants have operated, and continue to operate, an [uniquely
separate] ongoing enterprise, which has existed for over three years,
and they operate the enterprise by a continuous, systematic pattern of

racketeering activity, which has defrauded Plaintiff of 818,960.

PARTIES
16.Plaintiff William Alexander, is the aggrieved party who has voiced
repeatedly for [3] years that there is:
(a) Conflict of residence.

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(b) Change of residence was not documented

(c) Amount of monthly payment must be adjusted to reflect above
changes.

(d) Arrearage amount must be abated, given reasons (a)-(c).

(e) Child is being mentally and emotionally abused, and it is affecting his

overall behavior.

17.Defendant Gerald Rosen is the Federal Chief Judge of the Eastem
District of Michigan, within Wayne County, in the State of Michigan,
and an agent acting on behalf of the Federal Govemment, charged
with interpreting and enforcing its laws with which the court has

jurisdiction.

18.Defendant Cheryl Matthews is a Judge of the Sixth Judicial Circuit
within Oakland County, in the State of Michigan, and a ward of the
state of Michigan, charged with interpreting and enforcing its laws
with which the court has jurisdiction As a ward of the state, Cheryl
Matthew is responsible for ensuring she is in compliance with
Constitutional, Michigan and Federal Law.

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19.Defendant Michelle Endres is a Deputy Clerk within Oakland County,
in the state of Michigan, and a ward of the state of Michigan, charged
with assisting Judge Matthews in whichever functions deemed
necessary. As a ward of the state, Michelle Endres is responsible for
ensuring she is in compliance with Constitutional, Michigan and

Federal Law.

20.Defendant Suzanne Hollyer is the director of the Gakland County
Friend of the Court, and charged with delegating duties of her
subordinates and ensuring that proper laws are applied. As a ward of
the state, Suzanne Hollyer is responsible for ensuring she is in

compliance with Constitutional, Michigan and Federal Law.

21 .Defendant David Hoffman is a Referee of Oakland County Friend of
the Court. He is charged with “investigating all relevant facts, making
written reports and recommendations to both parties and the court,

regarding child custody or both. As a ward of the state, David

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Hoffman is responsible for ensuring he is in compliance with

Constitutional, Michigan and Federal Law.

22.Defendant Lori Savin is a Referee of Oakland County Friend of the
Court. She is charged with “investigating all relevant facts, making
written reports and recommendations to both parties and the court,
regarding child custody or both.” As a ward of the state, Lori Savin is
responsible for ensuring she is in compliance with Constitutional,

Michigan and Federal Law.

23.Defendant IlyssaCimmino is the Support Specialist of Oakland
County Friend of the Court, and charged with calculating child
support amount, arrearages and other financial adjustments As a
ward of the state, IlyssaCimmino is responsible for ensuring she is in

compliance with Constitutional, Michigan and Federal Law.

24.Defendant Mary Katherine Neumann- is a Family Counselor at the
Oakland County Friend of the Court, and her duties are to provide
adequate counseling after uncovering the nature of problems, and
suggest ways to improve communication between parties, when

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situations are difficult. Additional duties include working with the
Support Specialist to establish income withholding As a ward of the
state, Mary Katherine Neumann is responsible for ensuring she is in

compliance with Constitutional, Michigan and Federal Law.

25.Plaintiff henceforth establishes, that each Defendant is a ward or
employee of the state, and as such, must enforce the laws of the State

of Michigan.

26.Their actions come into conflict with Michigan State and Federal
laws, and they are thus sued in their capacity as wards of the state,

operating a RICO structured enterprise.

ALLEGATIONS

27.The named individual Plaintiff brings this action on behalf of himself
pursuant to 18 U.S. C. § 1964(c). Plaintiff is an African American

male whose rights have been violated by Defendants,

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28. (a) Excessive threats to accuse Plaintiff of crimes and offenses

1 not validated, with intent to cause injury to Plaintiff and property,

29. (b) the continued threat to extort money and bribe Plaintiff for
money in exchange for “freedom”, to do an act that they have no right l

to enforce, by using fear, threats and undue exercises of power. l

30. Defendants have (c) mailed in this district by U.S. mail, false

debt information to defraud Plaintiff.

31.Interference. Plaintiff herein establishes interference, by addressing
the pressing concern of repeatedly stating for the duration of [three
years], that minor child did not reside with his mother. Information
originally discovered by Child Protective Services, an outside agency

independent of the Friend of the Court.

32.Questions of Law and Fact. Common questions of law and fact
affecting Plaintiff are involved, including but not limited to actions

and omissions by Defendants, who have denied the Plaintiff equal

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l treatment and equal relief on the basis of nourishing an ongoing

Enterprise, with the intent to extort monies that are not owed.

33.Mainstream Claims. Claims of the named Plaintiff are Defendants are
operating in an entirely separate enterprise in place of the FOC
agency, to extort currency from fathers, which cannot be owed as
presented within this complaint Defendants are in actuality black

mailing and bribing Plaintiff for his freedom.

34.As Plaintiff continues to voice his contention further, the Defendants
have escalated their actions to induce Plaintiff to suffer. Plaintiff has
suffered, and will continue to suffer, due to discriminatory denial of

equal rights.

35.Plaintiff alleges that he is and will continue to be subject to
discrimination based on gender, due to the discrimination complained
of in this action. Plaintiff has established the necessary elements of

Civil RICC) further:

a. Person

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36.The Defendants [persons] are acting as private individuals, wholly

distinct from that of the Friend of the Court agency [enterprise].
b. I_nj_ry

37.Plaintiff has suffered concrete financial loss. The intent to enforce an
amount not owed has prevailed for the duration of [three] years, and
Defendants have purposely placed Plaintiff in a state of
impecuniosity. [Defendant Lori Savin wrote of Plaintiff s hardships,
yet did not offer any form of relief. Defendant Savin destroyed the

(October 25th 2013) transcript.] Exhibit A

c. Business or Property

38.Defendants have used instruments of extortion, blackmail and bribery
to take and or withhold Plaintiff`s money. Property is comprised of

anything of material value, owned or possessed. Money is a form of

property.

d. Bv Reason Of “Proximate Cause”
39.Plaintiff has suffered direct injuries, which were foreseeable or
anticipated as a natural consequence of Defendants actions.

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e. Iniunctive and Declaratorv Relief.
40.Defendants have acted or refused to act on grounds generally
applicable to a situation, which has become increasingly bizarre. Thus
making preliminary and permanent injunctive relief and analogous

declaratory relief with respect to Plaintiff necessary.

III.
AGENCY
41.Defendants “were” and “are” engaged in a conspiracy to defraud and
extort; each of them are liable for the actions of the other as if they
themselves had committed the acts. All Defendants were acting as the
agents of the others with either express or implied authority to so act
in furtherance of their common goal to operate a RICO enterprise and

all Defendants benefitted therefrom and ratified the acts of the others.

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42.Therefore, all Defendants are jointly and severally liable for the
actions of every other Defendant committed in furtherance of the

conspiracy.

IV.
SUMMARY OF COMPLAINT

43.This is a Civil R`ICO case comprised of extortion, bribery, and mail
fraud. In which the Defendants have crafted a system to defraud
Plaintiff, and others by using an enterprise purporting to be acting on

behalf of the state, when evidence indicates the opposite.

44.The agency itself is not the Friend of the court, but an entirely
separate entity, operating under the guise of law, omitting the same

rules that a government agency must adhere too. The Defendants have

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crafted this entity with the “intent” to act or “commit” acts, which
conflict with the law. Such intent is a deviation from Agency duties
and practice and is the equivalent of operating a separate and distinct
entity, run by private individuals, void of law. Thereby allowing these
individuals to operate in a sphere of autonomy, which can only best be

described as “functioning in the grey”.

V.
THEENTERPRISE

45.Actions of the Defendants prove they are operating an entirely

separate entity of their own design.

46.The Friend of the Court Agency was established in the state of

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Michigan under the Friend of the Court Act, PA 294 of 1 982.
Michigan’s primary goal for this Agency was and is to ensure that
both parents are contributing to the financial well-being of their child.
Both Michigan and Federal Law allow the enforcement of court

ordered support obligations

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47.The Oakland County division is comprised of an 80% Caucasian
workforce that is majority female. It is relatively unclear but, at some
past interval, the Oakland County Friend of the Court departed from
the rules and regulations, which govern it, and concocted a different

set of rules and regulations

48.These rules and regulations, function on a person’s lack of two
factors:
49.(a) Lack of knowledge.

50.(b) Lack of money.

51.It is well known that child custody battles and divorces are the most
atmospherically charged and costly expenditures in our society. “Lack
of” is essentially what they are operating off`. Opposition requires

expensive lawyering and voluminous documentation
52.A vast amount of individuals are void of money to afford a suitable
lawyer, and few if any, possess the time or knowledge to learn or

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apply the law. If an individual has no knowledge of family law, then
they will hire an attorney. If an attorney cannot be afforded, they will
have to go before the Referee themselves, and rely solely on their

opinions and recommendations

53.Consistent with lack of knowledge, is the Michigan Child Support
Formula, which is applied to determine a monthly support obligation
If an individual has not retained an attorney, nor afford to retain an
attorney, they will take what a Referee says at face value, and never

dispute the monthly support amount.

54. Referees can calculate an amalgam of arrearage and monthly support;

withholding 55% of an individual’s annual income.

55.An individual who does not know the law will rely solely on this
illusion of validity. What victims don’t know is a.) Support can be
abated or forgiven. b.) you do not have to agree to the monthly

support obligation if it will be economically devastating

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DEVIATION
56.If an individual contest this amount, then the Referee will do their best
to ensure that this matter does not go before the Judge. They will deter

you as much as possible.

57.When a party objects, than the matter goes before the Judge, and the
Judge will agree with the Referee. The belief is that there is some

valid form of “relief’. The above action demonstrates this is not true.

58.This expresses that the Referee is in control, and will deter you from
acting if another issue arises If and when another grievance arises,
you’ll take it before the referee. The Referee will tell you this, that,
etc.

59. The average person’s thoughts are, “Well, the Judge is going to agree
with you anyway.”The system normally operates as, (1) an individual
goes before the referee, (2) individual disagrees with the referee, and
(3) individual goes before the judge, who determines what’s

appropriate

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60.That last aspect is lacking in Oakland County. The Judge will agree
with the Referee. Navigating through this process, a male may find
there is no difference between the Judge and the Referee. They will

share the same opinion, whether it makes sense or not.

61.The belief to those not actively entrenched in the system is that there
is some valid form of “relief”, when in reality, there isn’t. When an
additional problem arises, the Referee will convince you to let them
handle it, and the “Referee”, goes before the judge and speaks, the

Judge of course agrees with him or her, etc.

62.Individuals now rely solely on the Referee, because they feel they
have no choice; the Referee is the judge, and their judgments will be
tantamount This systematic behavior requires the participation of
judges who will only agree with the Referee. But the other alternative
is to placate the Friend of the Court by making payments when and
where you can; which is something any and all men will do to make
sure they can avoid the entire lengthy process Interacting with this
system is exasperating Defendant Neumann, once told Plaintiff, that,
“Their goal was to deter parties from coming before them.”

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63.Many victims feel that contesting is absurd; an individual will
experience the above gamut Of course, when a lawyer is retained,
there will be no issues But who can afford a lawyer, when the Friend
of the Court is taking 55% of your income? That does not leave much

for living expenses, let alone retaining a lawyer.

Financial Gain.

64.There are many reasons support may be modified
a. Change in custody.
b. Change in employment

c. Change in health; S.S.I., etc.

65.In either of these cases, the Friend of the Court will apply their
“surcharge fee”. The surcharge fee is what is required for the
transferring of money. When one of the above situations occur, an
individual goes before the Friend of the Court they lower your

payments

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66.In Oakland County however, that is not the case. If you dispute or
contest the amount, you will get absolutely no results without a
lawyer. Considering the three-ring circus described above, most

individuals will obey, and not challenge these illegal actions

67. Plaintiff says illegal, because under Michigan Law, a Referee cannot
make you pay a certain amount The Michigan Child Support Laws

allows a deviation from the formula, if the amount calculated cannot

be afforded

68.Normally if there is a change in custody, a party must contact the
court and relay this information However, what if a party never

contacts the court? See MCL 722.31

69.In Oakland County you will find yourself still paying support, despite
the fact that you have repeatedly voiced these concerns If a female
makes these claims in Oakland County however, the order will be

modified immediately

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70.This is a two-tier system; if there is a change in circumstances, than it
must be investigated as cited In Michigan Law. This may or may not
go before the judge. Oakland County though operates in a different
way. Referees are given carte blanche to collect income however they
can. Whether or not it is illegal or economically depriving is of no
consequence

71.An incorrect amount you will find is not attended to right away, if at
all. This incorrect amount will be sent via computer or phone to the
Department of Treasury. Which ensures that a party receives their
income from the IRS, and the Friend of the Court receives their

surcharge fee.

72.Plaintiff mentioned previously, the largest conflict arises when there is
a change in custody. Depending on where the child resides, support is

either lowered, or placed on the other parent

73.When a child moves out of a parent’s home, this is documented
Depending on where the child resides, support is either lowered, or

placed on the other parent

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CONFLICT

74.Plaintiff began to notice deviations of Agency “behavior” during

April of 201 1.

75.Child Protective Services, an independent Agency, began an
investigation in November 2010. This investigation concluded that
minor child does not reside with mother, but with maternal

grandparents

76.Plaintiff immediately contacted Defendants Hoffman, Neumann, and
Cimmino. All of who did not note this “change of residence” or

investigate it.

77.P1aintiff made the fact that there was a conflict of residence during a

hearing on April 29th, 2011 to Referee Bolton.

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78.This is when Plaintiff realized they were never going to document or
record it. Child support allows the Agency to charge a “collection
fee”. Whether or not this “collection fee” is correct, is immaterial. lt
can be decreased or increased, but never abated If it were abated, the
collection fee would not exist, and Defendants would be out of

money.

79.The Friend of the Court has amassed a fortune operating this way.
Consider the amount of individuals who don’t know the law; these
changes are never documented and people arrive at the F.O.C. with
wallets open. Feeling hopeless and powerless

80.MCL 552.505 (g) and (h), list the duties and responsibilities of the
Friend of the Court as:
(g) To investigate all relevant facts, and to make a written report and
recommendation to the parties and to the court, regarding child
custody or parenting time, or both, if ordered to do so by the court If
custody has been established by court order, the court shall order an
investigation only if the court first finds that proper cause has been

shown or that there has been a change of circumstances The

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investigation may include reports and evaluations by outside persons
or agencies if requested by the parties or the court, and shall include
documentation of alleged facts, if practicable. If requested by a party,
an investigation shall include a meeting with the party. A written
report and recommendation regarding child custody or parenting time,
or both, shall be based upon the factors enumerated in the child

custody act 0f1970, 1970 PA 91, MCL 722.21 to 722.31.

(h) To investigate all relevant facts and to make a written report and
recommendation to the parties and their attorneys and to the court
regarding child support, if ordered to do so by the court The written
report and recommendation shall be placed in the court file. The
investigation may include reports and evaluations by outside persons
or agencies if requested by the parties or the court, and shall include
documentation of alleged facts, if practicable The child support
formula developed by the bureau under section 19 shall be used as a
guideline in recommending child support The written report shall
include the support amount determined by application of the child

support formula and all factual assumptions upon which that support

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amount is based If the office of the friend of the court determines
from the facts of the case that application of the child support formula
would be unjust or inappropriate, the written report shall also include
all of the following:

(i) An alternative support recommendation

(ii) All factual assumptions upon which the alternative support

recommendation is based, if applicable

(iii) How the alternative support recommendation deviates from the child

support formula.

(iv) The reasons for the alternative support recommendation

81.If an outside agency (Child Protective Services), conducts an
independent investigation, why would the Defendant’s not
immediately do the same‘? If the Friend of the Court Act, PA 294 of
1982, is the law that articulates duties, than why has there been no

perforr`nance?

82.Lack of documentation indicates, The Friend of the Court either:
1.) Intentionally never documented the correct amount in order to
receive the surcharge fee.

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2.) Mistakenly failed to document these facts properly and are

attempting to suppress this information

83.In either of these instances, they are attempting to collect an unlawful
debt Under the RICO Act, an unlawful debt is defined as “a debt that
is (A) unenforceable under state or federal law, ”

84.Any further attempts to acquire property, which is not owed or

justified, is Extortion.

85.lnterpreting the Clayton Act, the Supreme Court has observed that,
“[i]n its dictionary definitions and in common usage ‘property’
comprehends anything of material value owned or possessed Money,
of course, is a form of property.” Reiter v. Sonotone Corp., 442 U.S.
330, 342 (1979). This definition has been applied in RICO actions
See, e.g., Canyon County v. Syngenta Seeds, Inc., 519 F. 3d 969,976

(9th Cir.), cert denied, 129 S. Ct. 458 (2008).

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86.If these proceedings are a deviation from the laws put in place to
effectively operate an organization, one can only surmise that they are
no longer acting in the best interest of either party, but are seeking to

enrich themselves

87.The larger the amount, the larger the surcharge fee; and as Plaintiff

stated, the amount is increasing steadily.

Surcharge fee.

88.Contemplate for a moment: what agency would be able to acquire
incorrect amounts of money illegally, without anyone ever noticing or
disputing?

89.The Friend of the Court; why would the IRS or Department of Justice
investigate this agency, when all they are doing is collecting money,
or rather, giving the impression of collecting money?

90.At one time, Plaintiff was paying $730 monthly for one child, out of a

monthly income of $1600.

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91 .While paying 8730 a month, the opposing party in the lower circuit

court case stated: “I don’t receive $730 a month. 1 get $365.”

92.This oddity, has Plaintiff wondering where has all that income gone?

l
More importantly, how much is the “Surcharge Fee”? l
l

RELEVANT FACTS
93.November 2010. Investigator interviews Plaintiff and minor child.
94.April 29th, 201 l-Present. Plaintiff relays there is a conflict of
residence
95.April 2013. Plaintiff arrived at a breaking point and filed a F ederal
Lawsuit against Referee David Hoffman and Mary Katherine

Neumann, for failure to document evidence and statements

Defendant Gerald Rosen
96.May 2013, F ederal Judge Gerald Rosen contacted the FOC and
divulged a lawsuit had been filed

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Defendant Cheryl Matthews

97.May 2013, Judge Matthews

98.Violated MCR 2.002 (Exhibit B, Bl), MCR 2.611, and MCR 2.612.

99.After Plaintiff declined a court appointed attorney, Judge Matthews

ordered Plaintiff to Jail in retaliation for filing a civil lawsuit

100. Has burdened Plaintiff with fees for a Court Appointed
Attorney, which Plaintiff denied (Exhibit C, C1)
101. April 2014 made the statement that she would never place a

stay on Plaintiff' s case

Defendant Michelle Endres

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102. Plaintiff conveyed child abuse issues to Defendant on October
22“", 2012 and Aprii 30"1, 2013 When P1aintiff attempted te have fees

waived (Exhibit B, Bl)

103. Defendant appeared at Cheryl Matthew’s retaliation hearing

and waved at Plaintiff, as if to say “hello”.

Defendant Suzanne Hollyer
104. Suzanne Hollyer contacted Plaintiff with a taunting letter
stating she knew about “lawsuit” that was filed, when no jurisdiction

was established (Exhibit D)

105. Attempted to suppress evidence stating, no notes exist on
Plaintiff’s account about the amount being “Subject to Audit”.

(Exhibit E)

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Defendants David Hoffman and Mary Katherine Neumann
106. Each of these Defendants was aware from 2011-Present, of the

residency conflict and never documented it

107. Both Defendants’ have been in constant contact with opposing

party in lower case number and giving advice

108. October 31st, 2012 Plaintiff requested a Preliminary Injunction
to structure a business deal. This agreement with Defendant Hoffman
came with two conditions: (1) Plaintiff would pay for arrearages and
accruing amount out of his tax return. (2) Monthly updates of the

venture would be given to the court (Exhibit F, F 1)

Defendant Lori Savin
109. Hearing Held May 8"’, 2013: During this hearing Plaintiff
explained to Referee Savin that minor child does not and has not lived
with opposing party for 3 years now; Plaintiff also conveyed he was

sick. (Plaintiffs Health was addressed in Exhibit Fl)

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Referee Savin taunted Plaintiff and said the following: “You

should come up with $50 to file a motion.” To which Plaintiff

responded “I’m on aid and I don’t have $50.”

a. Hearing held May 15th, 2013: Lori Savin lied under oath in a

hearing before Judge Matthews Judge Matthews asked Referee
Savin if she knew anything about Plaintiff’s past health
condition, and Referee Savin said she had no knowledge of

Plaintiff ever being sick. l

. Lori Savin was not the acting Referee at that time, and did not

mention that to Judge Matthews (2) Attorney William
Petersmark acknowledged that he and Lori Savin reviewed the
monthly communications faxed to the Friend of the Court as
stipulated in agreement [See Exhibit F, Fl], and the
Communication dated for February 17th, 2013 states that “I am
receiving medical attention, and my ability of relaying a

correspondence has been limited for the past two months.”

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1 1 1. Hearing held August 5th, 2013: Lori Savin refused to
acknowledge the notes of previous Referee David Hoffman who noted

on my account the arrearage amount in question is subject to audit

(Exhibit E)
112. After Plaintiff left the hearing room, Referee Savin gave the
opposing party legal advice Plaintiff believed that his ears were

playing tricks on him.

113. That is until the opposing party said the following to minor

child and her parents: “The lady from the court told me not to let Will

get Troy because he can claim extra days and get his support

lowered.”

l 14. Hearing held October 25th, 2013(Exhibit A): Referee Lori
Savin destroyed a transcript This is what transpired:

115. Plaintiff told Referee Savin to recuse herself from this case

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116. Savin exclaimed she had not broken any judicial canons;
however she is unaware Plaintiff over heard her giving legal advice,

despite her attempts at disguising her language

117. Defendant Savin stated:
1 18. “Your son living with his grandparents is equal to him living

with his mother.,”

119. Plaintiff stated that he was and is paying the incorrect amount
of support Arrearages are erroneous and cannot be enforced The
Friend of the Court has exacerbated Plaintiff s income by insisting
Plaintiff pay an amount that is incorrect Referee Savin stated, “That

child support cannot be retroactively modified”

120. Referee Savin then changed the amount of support to be paid,
stating that she recalculated the number of days, based on her theory

listed in article 118 above.

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121. Referee Savin then stated, “Plaintiff must pay this amount.” lt
was after this statement Plaintiff understood that the Referee was
trying her best to intimidate him into compliance by eliciting a state of

hopelessness.

122. Defendant Savin noted on the record that Plaintiff is living in a

home with no heat and no electricity.

Defendant IlyssaCimmino
123. IlyssaCimmino communicated by letter that she was contacted
by the state, and questioned if minor child resides with Father; stated

custody order needs to be modified (Exhibit G)

124. Defendant Cimmino contacted M. Belill and had minor child

removed from food assistance case

Defendant M. Belill

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125. Defendant Belill, contacted Plaintiff 2 days after hearing with
the Friend of the Court, stating, “Plaintiff said minor child resides
with him Fri-Sun, and child is not entitled to benefits.”(Exhibit H)

QUESTIONS OF ACTION
Gerald Rosen
126. Why did Judge Gerald Rosen contact the Friend of the Court

and tell them there was a lawsuit filed?

a. Is it foreseeable that Gerald Rosen contacting the lower court

would cause a hostile environment?

b. How could Judge Rosen issue a dismissal to Defendants, when

Plaintiff never served the summons?

Cheryl Matthews

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127. a. Why is Judge Cheryl Matthews burdening Plaintiff with
attomey’s fees, when Plaintiff waived the court appointed attorney?

(Exhibit C, c1)

b. Why did Judge Matthews arrest Plaintiff without letting

him speak in his defense on May 15th, 2013‘?

c. Why did judge Matthews state she would “never put a

stay”on Plaintiff’ s case on April 9th, 2014?

Suzanne Hollyer
128. a. How did Suzanne Hollyer know a lawsuit was filed in

Federal Court, if the summons was never delivered? (Exhibit D)

b. Why did Suzanne Hollyer never respond to Plaintiff’ s inquiry

as to how she found out about the lawsuit?

c. Defendant Hollyer stated there were no existing notes on
Plaintiff" s account If nothing was documented on Plaintiff’ s
account, then why is “Subject to Audit”, written next to the

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arrearage amount on each motion to show cause order? (Exhibit

E)

Michelle Endres
129. a. May lst, 2013: why did Michelle Endres tell Plaintiff he was
dressed too nice to get his fees waived?

b. Why did the disturbing attached conversation occur? April 30“‘,

2013-May 8“1, 2013 (Exhibit 1)

Lori Savin
130. a. October 25th, 2013, why did Lori Savin tell Plaintiff that his
child living with his maternal grandparents was equitable to the child

living with the mother?

131. b. lf this statement above was true, why was it not on the

written record Lori Savin provided? (Exhibit A)

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132. c. How could Defendant Savin place on paper that Plaintiff
was not trying to secure steady employment if each month Plaintiff

provides the F.O.C with job search updates? (Exhibit J)

133. d Why were their typographical errors and the transcript

for October 25th, 2013 could not be recorded? (Exhibit A)

134. e. Why was Lori Savin upset on August 5th, 2013 when
Plaintiff gave her communication stating that minor child resides with

Plaintiff from Defendant Cimmino? (Exhibit G)

135. f. How could Referee Lori Savin label Plaintif “able
“bodied when the FOC never admitted evidence of health crisis?
(Exhibit J)

136. g Why did Defendant Savin lie under oath on May 15th,
2013?

137. h. Why did Defendant Savin tell Plaintiff to file a motion,

when she was aware the Judge Matthews would not allow him too?

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M. Belill

138. a. Why did M. Belill remove Plaintiff’s minor child from
food assistance case two days after hearing with Lori Savin? (Exhibit
H)

139. b. Why did Defendant Belill have an entirely different set of

days listed as day’s minor child is with Plaintiff?

IlyssaCimmino

140. a. Why was IlyssaCimmino present during hearing on October

25th, 2013?

David Hoffman, Mary Katherine Neumann

141. a. Why did neither of these Defendants document Plaintiff’ s
disputes?

General Questions
142. Why is it that when the court contacts some agency, a

decision arises that leads Plaintiff back to the Circuit Court?

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143. Why would the court of appeals waive fee’s to file in
their court, but not reverse the decision of the circuit court, which

denied fee waiver for no listed reason? (Exhibit K)

144. The court of appeals denied a motion for not seeking a
stay from the trial court first How, can an indigentindividual file a
motion with the trial court, if they’re blocked from filing motions by

denial of fee waiver? (Exhibit B, Bl)

145. Why did Plaintiff’s Court of Appeals Case move in rapid
succession after they were contacted by the Circuit Court‘? [Occurred

Aptii 9"‘, 2014.]

146. March 24th, why did the Friend of the court, have a large
number of people in David Hoffman’s hearing room? Normally, only
the Referee and the Defendant is present; all other Defendants must

wait outside until they are called

147. Why were there three FOC officers present at this hearing?

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148. Why was there a deviation from procedure at this hearing?

149. Why was Plaintiff told to file a motion, when the opposing
party has never had to file a motion? She voices her concerns with the
FOC. Why is there a separate procedure for Plaintiff? Evidence of this
is given on March 24th, 2014 when Defendant Hoffman stated: “Ms.

Wymes wants this to go before the judge.”

150. Further proof is given in this letter from Mary Katherine

Neumann (Exhibit L). They are in constant contact with each other.

151. Why has the court blocked all forms of relief for Plaintiff?

152. How is it that all these mysterious coincidences keep occurring?

VIOLATIONS OF MICHIGAN COURT RULES

153. Michigan Court Rules have been developed to ensure proper
operation transpires within the judicial system; however, like all rules

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that are supposed to be followed, the Defendants have yet again

deviated from them.

154. Defendant Cheryl Matthews has broken court rules MCR 2.002,

MCR 2.611, and MCR 2.612.

VIOLATION OF MCR 2.002 AND 28 U.S.C. 1915(a) (1)
155. PLAINTIFF HAS SHOWN THAT I-IE IS UNABLE TO PAY
THE FEES AND COSTS BECAUSE OF INDIGENCY AND,
THEREFORE, HIS APPLICATION MUST BE GRANTED.

WAIVING OF FEES IS NOT A PRIVILEGE, IT IS A RIGHT.

156. The Michigan Court Rules require that the Court waive or
suspend filing fees and costs for two categories of individuals:

persons receiving public assistance and other indigent persons MCR

2.002 (c) and (D).

157. Specifically, MCR 2.002(C) provides, “If a party shows by ex
parte affidavit or otherwise that he or she is receiving any form of

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public assistance, the payment of fees and costs as to that party shall

be suspended.”

158. Similarly, MCR 2.002(D), named “Other Indigent Persons,”
provides that the court shall waive or suspend fees and costs if a party
shows by affidavit or otherwise that she is unable because of

indigency to pay fees and costs

159. The Michigan Court of Appeals analyzed this provision in
Hadley v. Ramah. 134 Mich. App. 380 (1984). The Court of
Appeals asserted that the “term ‘shall’ normally denotes a mandatory
duty.” Id. at 387 citing State Highway Comm v. Vanderkloot, 392
Mich. 159, 180 (1974),' McGrath v. Clark, 89 Mich. App. 194, 197
(1979). The Court went on to find that the court rule “requires the
trial court to waive fees and costs if the litigant seeking the waiver
submits an affidavit setting forth her inability to pay the fees and costs
due to indigency.” Id. citing Bachor v. Detroit, 49 Mich. App. 507,
513 (1973) (the court rule mandates the waiver of fees and costs upon

the filing of the required affidavit). The Court also noted, “[W]e do

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not believe that, where the circuit court knows or has reason to believe
that the facts set forth in the affidavit are untrue, the court has no
discretion to do anything other than order the requested waiver of fees
and costs” and suggested that the “circuit court could hold an
evidentiary hearing to determine the financial status of the indigent
requesting a fee waiver.” Id. at 38 7-8.

160. Federal law, specifically 28 U.S.C. 1915 (a), also permits and
supports Mr. Alexander’s eligibility for waiver or suspension of fees
and costs This federal statute authorizes any court of the United
States to allow an indigent to proceed without payment of fees if the
litigant submits an affidavit that includes a statement of assets and

inability to pay such fees 28 U.S.C. 1915(a) (1).

II. THE DENIAL OF PLAINTIFF ’S REQUEST F()R
SUSPENSION/WAIVER OF FEES AND COSTS WOULD BE A

VIOLATION OF HIS FOURTEENTH AMENDMENT RIGHTS

161. In Ex Parte Young, the United States Supreme Court

specifically states the implication of the 14th Amendment. 209 U.S.

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123 (1908). The Court held: “[t]here is no dispute as to the meaning of
the Constitution, where it provides that no State shall deprive any
person of life, liberty or property without due process of law; nor deny
to any person within its jurisdiction the equal protection of the laws,”
Id. at 144. Accordingly, the denial of Mr. Alexander’s request for
suspension or waiver of fees/costs after he has shown his indigency
pursuant to MCR 2. 002 would be a violation of Plaintiff’s 14th

Amendment rights

162. Moreover, if the Judge does not deny fees, a reason or reasons
must accompany “why”, an Affidavit of Indigency has been denied
Likewise if a Judge does not believe that a party is indigent, they must

request references None of the prior actions were undertaken

VIOLATION OF MCR 2.611
163. Contained within MCR 2.611 are the following rules:

(A) Grounds.

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(1) A new trial may be granted to all or some of the parties, on all or some of
the issues, whenever their substantial rights are materially affected, for any
of the following reasons:

(a) Irregularity in the proceedings of the court, jury, or prevailing party, or
an order of the court or abuse of discretion, which denied the moving, party
a fair trial.

(b) Misconduct of the jury or of the prevailing party.

(c) Excessive or inadequate damages appearing to have been influenced by
passion or prejudice

(d) A verdict clearly or grossly inadequate or excessive

(e) A verdict or decision against the great weight of the evidence or contrary
to law.

164. Plaintiff would like to reiterate, any and everything pertaining

to the circuit court case is irregular. Particularly the several underlying

variables:
1. Amount of arrearage
2. Actual residence of minor child

3. Medical history

4. Job search

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‘ 165. Disregarded factors constitutes an abuse of discretion, as
l identified in Borowsky v Borowsky, 273 Mich App 666, 6 72,' 733
NW2d 71 (2007), “ An abuse of discretion occurs when a court selects
an outcome that is not within the range of reasonable and principled
outcomes.” This is a verdict or decision against the great weight of the
evidence (e). Especially when the Defendants never allowed evidence
to be submitted
VIOLATION OF MCR 2.612
166. MCR 2. 612 state that either of the rules contained therein,
entitle a party to relief.
(a) Mistake, inadvertence, surprise, or excusable neglect
(b) Newly discovered evidence which by due diligence could not have been
discovered in time to move for a new trial under MCR 2. 611(B).
(c) Fraud (intrinsic or extrinsic), misrepresentation or other misconduct of

an adverse party.

167. Evaluation of this rule reveals that the court and all of its agents
have and are committing fraud and misrepresentation The other party

has also committed fraud and misrepresentation;

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168. Plaintiff’ s child moved in with his mother in January of 2014.
For three [3] years, minor child resided With Plaintiff and maternal

grandparents

169. Continuous voicing of this illegal action perpetrated by minor
child’s mother denotes a clear and unequivocal change in
circumstance Any change in circumstance must immediately be
relayed to the court, so that a court and support order can be modified
to reflect the situation (Exhibit M)

170. Additionally, the Defendants actions are not in accordance with
laws in that they:

(a) Contribute to an obviously inequitable situation where a noncustodial
parent could`collect child support for substantial periods of time during
which that parent simply did not have custody.

(b) Violate the mandatory duties imposed by MCL 400.233 Office of

child support

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(c) Did not require or enforce custodial parent to notify court of address
and custody change, violating MCL 722.31 Legal residence change of child

whose parental custody is governed by court order. (Exhibit M)

171. A continued payment in this case would be the equivalent of
spousal support, not child support Michigan case law reflects that a
child not being in the place the court ordered the child to be situated,
cites a violation Such a violation results in the cancel of arrearages,
as illustrated in Pronesti v. Pronesti 368 Mich. 118 N. W.2d 254 453

(1962)

172. Further consideration of this “idea” of support enforcement,
when the location [residence], of the child is in conflict, has been held

as absurd in numerous custody cases nationwide

173. Quoting, “In Interest ofDoe, 91 7 S. W.2d 139, 142 (Tex. App.-

Amarillo 1996),

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174. “[When] custody is changed from one parent to the other
parent, no valid justification remains for requiring the new custodial
parent to continue payments that are intended to be purely for the
support, benefit, and best interest of the child The child’s best
interests cannot be served by continuing the prior support
arrangement as the child is not benefitted by the new custodial parent
continuing to provide support to the non-custodial parent
Consequently, such a support agreement serves no purpose for the
child after custody changes, and would only confer a personal benefit
upon the non-custodial parent if the payments were allowed to

continue.”

175. The custodial parent has failed to disclose information
concerning living arrangements of minor child; that is a conflict of the
previous court order, and as stated beforehand, this is a clerical error
and a fault of the Friend of the court This should have been
documented

176. Plaintiff would like to refer to, Brady v. Brady, 225 Kan. 485,

592 P. 2d 865 (1979), in which the court introduced the theory known

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as “Automatic Termination of Obligation by Operation of Law.” As

applied,

177. “The new custodial parent’s obligation is terminated by
operation of law upon a permanent change of residence by the child,

even if that permanent change is not under court order.”

178. Pronesti v Pronesti, Brady v Brady and 1n Interest ofDoe, all
hold identical rulings, which signify that relief is obtainable and if this
court were to keep with the theory, relief is “mandatory”. lt seems
however, that not one of the Defendants care about court rules or any

rules for that matter.

179. lrregularities of proceedings, signified in MCR 2. 611, reidsal to
waive fees MCR 2.002, a mandatory obligation under both Michigan
and F ederal Law, and executing fraud rather it be “intrinsic” or

“extrinsic”, entitle Plaintiff to relief under MCR 2.612.

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180. To “exclude” these rules intentionally is disturbing to say the
least Rules of court conduct are the pillars of legal society
everywhere lf these rules were discounted Judges and judiciary
officers everywhere would become loose cannons.

Conspiracy

181. By contacting the lower court, Gerald Rosen was in violation of

Federal Rule of Civil Procedure 4(c). A summons must be served to

establish jurisdiction

182. As a Judge, Gerald Rosen could have easily foreseen that
contacting the opposing party would incite a hostile environment The
original complaint filed by Plaintiff, was flawed in several aspects
Elements themselves were not clearly defined but the problem, which
is the list of conflicting factors, was and is clearly perceivable. A Pro
Se litigant cannot be held to the same strict rules as that of an
attorney, for the reason that a Pro Se litigant is not knowledgeable of

the rules and elements of law in their entirety.

183. “[a] pro se litigant’s pleadings are to be construed liberally and
held to a less stringent standard than formal pleadings drafted by

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lawyers We believe that this rule means that if the court can
reasonably read the pleadings to state a valid claim on which the
Plaintiff could prevail, it should do so despite the plaintiff s failure to
cite proper legal authority, his confusion of various legal theories, his
poor syntax and sentence construction, or his unfamiliarity with
pleading requirements.”Hall v. Belmon, 935 F . 2d 1106, 1 1 10 (10th

cit 1991)

184. The Defendant simply did not want to entertain the issues,
which Plaintiff finds, no Judge wants to entertain directly, the issues
and stresses associated with Family Court. lt is a strenuous task, to

sort through the problems of others

185. At what point, will a Judge step in and say, “Enough is
enough.” Defendant Rosen refused to, citing that there was no relief

that could be granted when that is a false and fraudulent statement
186. "[W]henever a plaintiff states an arguable claim for relief,
dismissal for frivolousness under § 1915(d) is improper, even if the

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legal basis underlying the claim ultimately proves incorrect."
McKinney v. Oklahoma, 925 F.2d 363, 365 (10th Cir.1991) (emphasis

in original) (citing Nez`tzke, 490 U.S. at 328, 109 S.Ct. at 1833).

187. Relief can be granted through several different mediums:
1. Arrears can be abated
2. Investigation could be commenced
3. Judge themselves can question the outside agency.
4. Judge can question minor child in chambers
5. Judge can place a stay on the proceedings to discover the core

issues, and whether or not they’ve been addressed with the Friend of
the Court. Yet, no one has done anything If the rules and laws were
improperly applied Judge Rosen had the choice to request an
amended complaint, in which litigant was to clearly apply the

principals of law to the best of his ability.

188. Once again, nothing was done, except to further barricade
Plaintiff from re-filing lawsuit saying such suit was frivolous and

malicious, and Plaintiff would have to pay to re-file. How can a suit

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be malicious, when the moving party is the victim and clearly at a

legal disadvantage?

189. Another question worth posing is, how can you bar a person
receiving state assistance from re-filing or amending anything, when

the problem in and of itself is clearly defined?

190. Judge Rosen was well aware of the problem, and yet he
disregarded the entire suit, and the case law applied Each case
provided was relevant case law that affirms, “Support is
unenforceable when the child is not in the residence that he or she is
supposed to reside at Support is for the benefit of the child if the

child is not there, that is unjust enrichment”

191. He deemed listings of case law as flawed because it was not
written or applied in the similar manner of a lawyer. His judgment in
interpreting the case was prejudicial from the beginning, since he

contacted the Defendants

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192. Therefore, Defendant Rosen is as much an accomplice, as the
others, since he turned a blind eye and further incited an already l

hostile situation

193. Judge Matthews and the other Defendants are equally as guilty.
Each contributed to this problem equally and proceeded without fear
of consequence when they could have offered similar forms of relief

listed above

194. What’s more disturbing than their actions, is the great lengths

the Defendants have ascended, to conceal these actions

195. Is it a coincidence, that every time the Defendants contacted an
agency, that agencyremanded or altered opinions and judgments to

placate a group of politically powerful tyrants seeking favors?

(Exhibit H, Exhibit K)
196. The definition of “Conspiracy”, as it is to be understood is “a
secret plan by a group to do something unlawful or harrnful.”

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197. Sheer obviousness of reoccurring “coincidences” proves not
only conspiracy, but also intent to commit conspiracy. Plaintiff has
been faced with 3 separate incidents where the Defendants have

manipulated various state agencies

198. ls it a coincidence that after Plaintiff’ s hearing August 5th,
minor child would be removed from food assistance case two days

later? Minor child was on food assistance case since September of

2012. (Exhibit H)

199. lnspector Dory Bryant noted the day’s minor child is in
Plaintiff’ s custody. They are listed as Friday, Saturday, Sunday,
during the school year, all school breaks, and alternating in summer,
with Plaintiff having custody Thursday-Sunday, or Wednesday-

Sunday.

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200. Each week is subject to change There might be Monday to
Wed, with him coming back Friday afternoon, or some alternative
Problems arise however, when M. Belill chose to write, what days

Plaintiff “said ” he had custody.

201. This clearly is a statement M.Belillwas told byllyssaCimmino.

Plaintiff knows what days he cares for child

202. Plaintiff disputed the decision, but could not attend the
Administrative hearing due to a parental medical emergency. See

Dismissal and Parental Emergency. (Exhibit N, Nl)

203. ls it also a coincidence that Plaintiff s case in the court of

appeals, was denied simply because it didn’t comply with court rule

MCR 7.209 (A) (2)?

204. You can’t seek a stay in the lower court without filing a motion
lf fees won’t be waived then how can a party comply‘? (Exhibit B, Bl)
More importantly, how can an argument lack merit when the Judge

did not comply with the rules necessary for such a denial?

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205. There are more unanswered and disturbing questions Why
would the Michigan Court of Appeals, a tribunal that only deals in
questions of law, waive fees for a case in their court, but refuse to

waive fees for a case in the lower court? (Exhibit K)

206. Fee issues were the reason for going to the Court of Appeals,
since Plaintiff could not file motions in defense or submit evidence
Lori Savin repeatedly taunted Plaintiff by exclaiming, “You never

filed a motionl”

207. Why would Plaintiff have to file a motion, if the opposing party
never has? The letter [Exhibit L] sent from Mary Katherine Neumann,
does not have a motion or written complaint attached to it That means

the other party phoned in her complaint

~ 208. So why is it that Plaintiff’ s complaints have never been

documented?

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209. lf evidence tells a story than conspiracy is exactly what was and 1
i

is happening here; evidence screams suppression and conspiracy. ln
fact the Defendants actions are so sinister, Machiavelli looks like a

cherub in comparison

Concluding Summary of the Interaction Among the Defendants, Their
Use of the RICO Enterprise and Commission of Extortion, Bribery and
Mail Fraud.
210. Hoffman/Neumann originally handled this case, yet failed to
document proceedings properly. When Plaintiff began to voice issues

of residence conflict and abuse, they simply ignored Plaintiff.

211. Rosen/Matthews- Judges who attributed to the scheme, by

denying any kind of relief, when relief was obtainable

212. Endres- Individual whom child abuse allegations were directed

to, who did nothing

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213. Cimmino/Hollyer/Belill/Savin/- Defendants who were aware of

conflict of residence, and did not step forward to address the issues

214. Each Defendant has endorsed this insane drama in a variety of

ways; remedies were readily available:

1. Arrearage can be abated

2. lnvestigation could be commenced

3. Judge themselves can question the outside agency.

4. Judge can question minor child in chambers

5. Judge can place a stay on the proceedings to discover the core issues,

and whether or not they’ve been addressed with the Friend of the Court. This

Court has just witnessed an “ungodly” number of “coincidences”.

VII.
CAUSES OF ACTION

VIOLATIONS OF THE MAIL AND WIRE FRAUD STATUTES

1. Mail and Wire Fraud Statutes.

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215. 18 USC §1341, “Frauds and Swindles” provides that it is a

violation of the statute to use the mail to commit fraud

216. The Wire Fraud Statute, 18 USC §1343 “Fraud by Wire, Radio
or Television” provides that it is a violation of the statute if
anyone transmits or causes to be transmitted by means of wire
(which includes telephone or internet) any communication

for the purpose of executing a scheme or artifice to

defraud

A. Civil RICO -Mail and Wire Fraud.

217. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above

218. 18 USC §1964(c) provides a private right of action for
mandatory treble damages costs and attorney’s fees to “any person
injured in his business or property by reason of a violation of §1962(c)
which makes it “unlawful for any person employed by or associated

with” a RIC() enterprise “to conduct or participate . . . in the conduct

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of such enterprises affairs through a pattern of racketeering activity”

including “mail fraud and wire fraud.”

219. Defendant’s not only mailed incorrect amount with language
“subject to audit” (Exhibit E) written on it to Plaintiff, but also mailed

and or emailed an incorrect amount to the Department of Treasury.

220. §1961(1)(B), mail fraud 18 USC §1341, frauds and swindles
and wire fraud §1343, which prohibits use of the mails or any
interstate wire transmission for the purpose of implementing a scheme
to defraud for the purpose of obtaining money. All Defendants
conspired to, and did operate their Friend of the Court as a RICO
enterprise to defraud Plaintiff, out of money by means of mail and
wire fraud by communicating an incorrect amount to the IRS, for

income withholding

221. Every Defendant consented to communicating this incorrect

amount, and did not prevent, or contest it

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222. Defendants individually and in conspiracy with one another,
are all RICO persons who violated RlCO by engaging in (1)
"racketeering activity," (2) conducted through a "pattern," (3)
affecting an "enterprise," (4) impacting interstate commerce
Defendants violated 18 USC §1962(c), by conducting and
participating in the conduct of the affairs of an enterprise (Contorted
Friend of the Court) that is engaged in or affects interstate commerce
through a pattern of racketeering activity (mail and wire fraud) as
alleged herein Defendants also violated 18 USC §1962(d) by
conspiring as alleged herein to violate 18 USC §1962(c). All of
Defendants’ predicate acts have a similar purpose - to acquire

substantial sums of Plaintiff’ s money, to unjustly enrich a third party.

223. Defendants’ repeated and persistent use of interstate mail and
wire transmission to commit and perpetuate their fraud is related in
time and purpose, is continuing, threatens to continue indefinitely into
the future and constitutes a pervasive “pattern” of racketeering

activity.

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224. Defendants recognized that this arrearage amount “was” and
“is” incorrect [Exhibit E, Exhibit O], and yet, purposely sent an

incorrect amount of monies owed across state lines via mail and or

wire, to the U.S. Department of Treasury.

225. Plaintiff would not be able to contest the erroneous amount
with Treasury; signifying that these actions are deliberate in will to

cause undue economic hardship.

226. Plaintiff testified on the record the Friend of the Court has
exacerbated his income by insisting he pay an amount that is
incorrect Referee Savinmade no note of this on the record ln fact,
Defendant Savin destroyed the transcript

227. lt was the intention of Defendant’s to commandeer Plaintiff’ s

property by giving false information to the Treasury Department

228. Every show cause hearing retains the language “Subject to

Audit”, adjacent to the incorrect calculated amount [Exhibit E]

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229. Under Michigan law, “fraud is an intentional perversion or
concealment of the truth for the purpose of inducing another in
reliance upon it to part with some valuable thing or to surrender a
legal right.” Eaton Corp v Easton Assocs, lnc, 728 F 2d 285, 292 (6th
Cir 1984) (quoting Barkau v Ruggirello (On Rehearing), 113 Mich

App 642, 647, 318 NW2d 521 (1982)).

230. Each of the Defendants purposely concealed that Plaintiff was
and is contesting the amount owed and calculated based on these
factors:

(a) Conflict of residence

(b) Change of residence was not documented

(c) Amount of monthly payment must be adjusted to reflect above
changes

(d) Arrearage amount must be abated given reasons (a)-(c).

(e) Child is being mentally and emotionally abused and it is affecting his
overall behavior.

231. As stated in the Section of Mail Fraud each show cause motion

has the language “Subject to Audit”, next to the amount Defendant

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David Hoffman has yet to put why the amount in question is subject

to audit

B. Civil RICO - EXTORTION/BRIBERY
232. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above
EXTORTION
233. 18 USC §1964(c) provides a private right of action for
mandatory treble damages costs and attorney’s fees to “any person
injured in his business or property by reason of a violation of §1962(c)‘
which makes it “unlawful for any person employed by or associated
with” a RICO enterprise “to conduct or participate . . . in the conduct

of such enterprises affairs through a pattern of racketeering activity”

including “extortion, bribery,

234. All Defendants conspired to, and did operate as a RlCO
enterprise to defraud Plaintiff, out of money by means of extortion

and bribery. Every Defendant participated in obtaining money from

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PLAINTIFFS' ORIGINAL COMPLAINT - CIVIL RICO

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Plaintiff by employing “terror tactics”, through the use of their RICO

enterprise

235. As stipulated in 1962(0) Defendants individually and in
conspiracy with one another, are all RICO persons who violated
RlCG by engaging in the (1) “conduct” of (2) an enterprise (3)
through a "pattern," (4) "of racketeering activity." Richmond v.

Nationwide Cassel, L.P., 52 F. 3d 640, 644 (7th Cir. 1994).

236. Defendants violated 18 USC §1962(0), by conducting and
participating in the conduct of the affairs of an enterprise that is
engaged in a pattern of racketeering activity (extortion and bribery) as

alleged herein

237. Defendants also violated 18 USC §1962(d) by conspiring as
alleged herein to violate 18 USC §1962(c). All of Defendants’
predicate acts have a similar purpose - to compel minority males to

pay erroneous amounts of “unlawful debt.”

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PLAINTIFFS' ORIGINAL COMPLAINT - CIVIL RICO

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238. The method of commission of the fraud has been virtually
identical and was scripted by the principal participants in the
fraudulent scheme Defendants’ repeated and persistent use of
interstate mail and wire transmission to commit and perpetuate their
fraud is related in time and purpose, is continuing, threatens to
continue indefinitely into the future and constitutes a pervasive

“pattern” of racketeering

239. Each of the Defendants have committed the act of Extortion as
defined by MCL 750.213 and U.S.C §1962(c).
a. The elements of extortion as pointed out by Justice N.J.
KAUFMAN:
1d, 332 "1) a communication
2) Threatening accusation of any crime or offense or any injury to the
person or property or mother, father, husband wife, or child of

another,

3) With intent thereby to extort money or pecuniary advantage as to
compel the person so threatened to do or refrain from doing an act
against his will."

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People v Krist, 97 Mich App 669, 6 75; 296 NW2d 139 (1980), lv den 409

Mich 936 (1980).

240. Defendant Lori Savin made the statements October 25th, 2013:

“Child support cannot be retroactively modified.”

241. “Your son living with you and his grandparents is equal to him

living with his mother.”

242. Referee Savin then changed the amount of support to be paid
stating that she recalculated the number of days based on her theory

listed in line 241, above

243. Defendant Cheryl Matthews had Plaintiff falsely arrested on
May 2013, with full knowledge that the amount of arrearage was and

is incorrect
244. Each of the actions above were said and done, to compel
Plaintiff to`pay an incorrect amount of child support, which he

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maintains is incorrect The Defendants have communicated [1] via
mail, and actions that they have, [2] no problem arresting Plaintiff
[injury], to acquire an unlawful debt and or incorrect amount of

money (pecuniary advantage) against Plaintiff` s will [3].

245. According to Evans v. United States, 504 US 255 - Supreme
Court 1992, id 261 “Cong_ress has unquestionably expanded the
common-law definition of extortion to include acts by private
individuals pursuant to which property is obtained by means of force,

fear, or threats”

BRIBERY

246. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above

247. In addition to the RICO Statue definition of Bribery, the
Defendants have also violated MCL 750.122, which reads:
1) A person shall not give, offer to give, or promise anything of value
to an individual for any of the following purposes:
(a) To discourage any individual from attending a present or future
official proceeding as a witness testifying at a present or future

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official proceeding or giving information at a present or future
official proceeding

(b) To influence any individual's testimony at a present or future
official proceeding

(c) To encourage any individual to avoid legal process to withhold
testimony, or to testify falsely in a present or future official

proceeding

a. The Defendants are in essence undertaking the following two
behaviors: “discouraging” Plaintiff (witness) from testifying
that there was a conflict of residence, and that they failed to

properly document it (a).

b. (c) Encouraging Plaintiff to avoid the legal process by “bribing”
Plaintiff to pay an incorrect amount, in exchange for freedom,
as if freedom were a gift [1], when it actuality, it is Plaintiff’ s

God given right

Plaintiff s damages are included by not limited to:
1. Being purposely forced into impecuniosity.

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PLAINTIFFS' ORIGINAL COMPLAINT - CIVIL RICO

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2. Lost $20,428 in revenue, that should have never been seized
3. Been unjustly incarcerated
4. Developed “Anxiety”, as a direct result of Defendants behavior, as

noted by 15 medical professionals

5. Effected Plaintiff’ s college courses negatively.

248. Plaintiff is to recover mandatory treble damages cost and
attorney’s fees under 18 USC §1964(c). This Court should also order

appropriate relief under 18 USC §1964(a).

Violation of 42 U.S.C. 8 1985 (2), Fourteenth Amendment

249. Plaintiff realleges and incorporates as though ii,llly set forth

herein, each and every allegation contained above

250. Statutory framework of 42 U.S. Code § 1985 (2), states it is
illegal to “conspire to deter, by force, intimidation or threat, any party
or witness from testifying to any matter pending therein, freely, fully,
and truthfiilly, or to injure such party or witness in his person or

property on account of his having so attended or testified.”

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251. Plaintiff gave testimony on October 25th, 2013 that there was a
conflict of residence, and the arrearage and monthly support amount

were and are erroneous

252. Defendant Savin attempted to deter Plaintiff by saying, “Your
son living with you and his grandparents is equal to him living with
his mother.” Not only is that a false and misleading statement, it

holds no grain of truth whatsoever.

253. Moreover, Plaintiff`s dissent was not recorded and the
recording itself, just so “happened”, to contain typographical errors
and muffled sounds

254. Each Defendant herein, did have knowledge and conspire to
intimidate Plaintiff by force, and threat, from testifying to a matter
pending therein, freely, fully and truthfully, “that the amount in

question is not only incorrect, but is incorrect and steadily increasing”.

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255. With these actions Defendants sought to injure Plaintiff in a
myriad of ways including mental anguish (torture), false
imprisonment and exclusion of evidence The Defendants are using
governmental law to burden Plaintiff’ s protected liberty interest and

or property interest

256. lf Plaintiff s dispute of arrearage amount is not documented on
the record other than on transcripts (that may or may not have

mysterious typographical errors), that is a premeditated action

257. The 14th Amendment guarantees procedural due process There
can be no Procedural Due Process if acts necessary to properly obtain
Plaintiff` s property are omitted; this is an unjustified act, and a
violation of the 14th amendment

258. Citing Carey v. Piphus, 435 US 24 7, the Illinois Supreme Court
identified the clause’s purpose:

259. “Procedural due process rules are meant to protect persons not
from the deprivation, but from the mistaken or unjustified deprivation
of life, liberty, or property.”

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Violation of 42 U.S.C. § 1985 (2). Eighth Amendment
260. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above
261. The eighth amendment is explicit in its statement of cruel and
unusual punishment
262. ln Furman v. Georgia, 408 U.S. 238 (1972), the United States
Supreme Court relied on what constitutes cruel and unusual
punishment Chief Justice William Brennan wrote the following:
263. “There are, then, four principles by which we may determine
whether a particular punishment is 'cruel and unusual'."
1. The "essential predicate" is "that a punishment must not by its severity
be degrading to human dignity," especially torture
2. "A severe punishment that is obviously inflicted in wholly arbitrary
fashion."
3. "A severe punishment that is clearly and totally rejected throughout
society."

4. "A severe punishment that is patently unnecessary."

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264. Cruel and unusual punishment is a behavior or behaviors
which can only be described as “torture”; whether these tortures are
mental or physical, is of no consequence The fact is that to
deliberately inflict severe physical or psychological pain and possibly

injury to a person, amounts to cruel and unusual punishment

265. The Defendants in their repeated acts of omission have allowed
Plaintiffs minor child to be emotionally and mentally abused As of
January 2014, Plaintiff` s minor child maternal grandmother was
diagnosed with terminal cancer.

266. As a result of this minor child has moved in with his mother.
His behavior has deteriorated ever since, as his school record for the
month of January will show, and he is now receiving daily progress
reports because in January, he created a “die list”. This is a
considerable contrast to the kind of child he is

267. Plaintiff relayed to Michelle Endres in October 2012 and April
28th, 2013, and Lori Savin that minor child would be subject to

danger, which is why Plaintiff continuously pointed out Child

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Protective Services and their independent investigation during
hearings

268. Attached you will find the disturbing comments made by minor
child’s mother.

269. This form of mental abuse could have been avoided entirely, if
any of the Defendants would have initiated an investigation as is their
responsibility under MCL 552.505 (g) and (h) which are quoted on P.
30 of this complaint, and state, “The duties of the Friend of the Court

are to investigate all relevant facts ”

270. None of these were done, and Plaintiff’ s concerns were
dismissed for three years and not evenly properly documented
Giving the impression to any outsider, that Plaintiff just doesn’t want
to pay support, which is not at all the issue Plaintiff is being required
to pay support for a child who hasn’t been where the “court order”

said “he should be.”

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271. Adding further insult to injury, not one of the Defendant’s has
questioned minor child in chambers which is how investigations are
conducted

272. Nor have they allowed Plaintiff to Subpoena documents from
Child Protective Services which would illustrate that this has been a

reoccurring problem for years

273. Clinging to the four principles mentioned by Chief Justice
William Brennan, by which “we may determine whether a particular
punishment is 'cruel and unusual ”,

274. Plaintiff ask this court, what can be more degrading to human
dignity then the mental and emotional abuse of one’s own child? [1]
ln what universe is it conceivable that any presiding presence ignore
one party for the duration of three years? [2] lf the fourteenth
amendment advocates procedural due process then ignoring one party
in favor of another is obviously an “action rejected throughout
society.” [3] These actions can only be conceived as a punishment
which is harsh and does not fit within the parameters of normalcy.
The defendants have no reason to inflict or elicit such unusual

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behavior; [4] they have no legitimate cause to proceed and all such

actions are wholly unnecessary.

275. Communication is what human beings rely on lt is the reason
we are taught to speak clearly, and is thus the reason for the
progression of society. So how can ignoring a person for an
unprecedented number of years be acceptable to anyone who is in

control of any judicial proceeding?

276. These actions would drive a reasonable person insane or to act
outside of the scope of normalcy. How else can a reasonable person
categorize actions of court staff when one repeatedly voices the same
claim and that claim is not only ignored but never written on the

record‘?

277. For violations of not only U.S.C. § 1985 (2), but violations of
the 8th and 14th Amendments, Plaintiff cites relevant case law of
Volunteer Medical Clinic, Inc. v. Operation Rescue, 948 F.2d 218

(6th Cir. 1991). The Sixth Circuit clarified the application of U.S.C.

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§1985, stating “The Defendants are acting as private actors and as

such, can be held liable for deprivations of constitutional rights.” [43]

Violation of MCL 750.136B (Child Abuse)

278. MCL 750.1361) recognizes child abuse as the following:
(b) "Cruel" means brutal, inhuman, sadistic, or that which torments
(g) "Serious mental harm" means an injury to a child's mental condition or
welfare that is not necessarily permanent but results in visibly demonstrable
manifestations of a substantial disorder of thought or mood which
significantly impairs judgment behavior, capacity to recognize reality, or '
ability to cope with the ordinary demands of life.
(2) A person is guilty of child abuse in the first degree if the person
knowingly or intentionally causes serious physical or serious mental harm to
a child Child abuse in the first degree is a felony punishable by

imprisonment for life or any term of years.”

279. All Defendants have been made aware of the infliction of
Mental and Emotional abuse perpetrated by the mother of minor child
in case Plaintiff voiced this on several occasions while attempting to
have the child questioned and the records of Child Protective

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Services subpoenaed By ignoring Plaintiff and allowing the actions of
l minor child’s mother, child abuse has been and is being allowed by

the Defendants

l 280. Each time Plaintiff files a motion or takes any form of legal
action, the mother of minor child verbally and mentally abuses the

child in question Statements minor child is forced to endure are listed

as [Exhibit P] from past to most recent [This is written in script

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dialogue.]

Direct Iniuries

281. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above

282. As a result of the Defendant’s continuous illegal actions
Plaintiff suffers from Anxiety. A diagnosis not easily concluded

283. Relentless and constant mishandling of this case has resulted in
deterioration of Plaintiff’ s health. Plaintiff has visited 15 physicians
over the course of a year to explain symptoms of fatigue,
disorientation, enlarged lymph nodes abdominal pain, unexplained
weight gain and geographical tongue

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284. Each physician is a specialist in his or her designated field and
have each concluded that Plaintiff suffers from “Anxiety”, dealing
with this situation

285. This includes oncologist Stephen Schwartz of Huron Valley
Hospital, Dr. Bruce Terrio and most recently Mack Ruffin, head of the

University of Michigan research team. (Exhibit J)

286. Recently the primary concerns of Dr. Mack Ruffin of the
University of Michigan Research Team was and is Plaintiffs swollen
lymph nodes, digestion system failure, and what appears to be

anxiety, brought on by this situation

Exhibit J attached MEDICAL DETAILS

287. The Defendants in depth knowledge of this situation in its
entirety, and lack of action makes them a contributor to the problem.
As listed above, there was and is nothing preventing the Defendants
from questioning Plaintiff’ s minor child in chambers and then

contacting minor child’s mother to dispute the allegations To do so

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would have concluded this situation years ago. Plaintiff has no idea
what she would do or say to minor child if she discovered he

conveyed these disturbing statements

lmmunity and Ouasi Immunitv
288. Those who have misused or abused their power frequently
invoke immunity. Maj ority of the defendants have acted within the
capacity as Judge at some point or another in Plaintiffs circuit court

CaS€.

289. Plaintiff must apply case law, to better illustrate to this court
why any immunity must be stripped under the Supremacy Clause of

the United States Constitution.

290. Landmark textbook approaches to J udicial lmmunity are
Bradley v. Fisher, 13 Wall. 335 (1872) and Stu)np v. Sparkman, 435

US 349 - Supreme Court 1978.

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291. “A judge is absolutely immune from liability for his judicial
acts even if his exercise of authority is flawed by the commission of
grave procedural errors The Court made this point clear in Bradley,
13 Wall., at 35 7, where it stated "[T]his erroneous matter in which
[the court's] jurisdiction was exercised however it may have affected
the validity of the act did not make it any less a judicial act; nor did it
render the defendant liable to answer in damages for it at the suit of
the plaintiff, as though the court had proceeded without having any

jurisdiction whatever....”

292. lmmunity was revisited in Pierson v. Ray, 386 U. S., at 554 :

293. "[I]t `is . . . for the benefit of the public, whose interest it is that
the judges should be at liberty to exercise their functions with
independence and without fear of consequences.'. . . lt is a judge's
duty to decide all cases within his jurisdiction that are brought before
him, including controversial cases that arouse the most intense
feelings in the litigants His errors may be corrected on appeal, but he

should not have to fear that unsatisfied litigants may hound him with

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litigation charging malice or corruption lmposing such a burden on
judges would contribute not to principled and fearless decision-

making but to intimidation."

294. Supporting the aforementioned Plaintiff must allege and affirm
that “lmmunity” or rather the shield of lmmunity cannot be invoked
citing the belief that the three dominant case law opinions normally

drawn on are inoperative

295. Factors of lmmunity rely on assertions that alternative methods
exist for the vindication of litigant rights However, immunity cannot
be invoked when there is a complete absence of normal judicial
proceedings ln the case of Stump v. Sparkman, the three dissenting

Justices Stewart, Marshall and Powell agreed thus:

296. “Underlying the Bradley immunity, then, is the notion that
private rights can be sacrificed in some degree to the achievement of

the greater public good deriving from a completely independent

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judiciary, because there exist alternative forums and methods for

vindicating those rights [1] l

297. But where judicial officer acts in a manner that precludes all
resort to appellate or other judicial remedies that otherwise would be
available, the underlying assumption of the Bradley doctrine is
inoperative See Pierson v. Ray, supra, at 554. [2] ln this case, as MR.
JUSTICE STEWART points out, ante, at 369, Judge Stump's
unjudicial conduct insured that "[t]here was and could be no appeal."
The complete absence of normal judicial process foreclosed resort to
any of the "numerous remedies" that "the law has provided for private

parties." Bradley, supra, at 354.

298. ln sum, l agree with MR. JUSTICE STEWART that petitioner
judge's actions were not "judicial," and that he is entitled to no judicial

immunity from suit under 42 U. S._ C. § 1983.”

299. Normalcy in relation to Plaintiff"s circuit court case does not
exist; in addition Plaintiff’s attempts at normalcy have been
eradicated Cheryl Matthews and all acting judiciaries have made sure

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that no appeal or relief can be granted or even entertained; acts

implemented were devised to force Plaintiff into capitulation.

300. Defendants have communicated through various mediums with
other agencies and or individuals who have supported their actions of
hindrance All the evidence Plaintiff provided in support of these
claims cannot be disputed and demonstrate intentional inflictions of

malice

301. To further validate this position, Plaintiff re-introduces
supplementary case law of Ex-Parte Young. Individuals acting in the
capacity of a state are often called upon to enforce the laws of that
state

302. However, these laws and actions cannot come into direct
conflict with our United States Constitution, which is the highest law

of the land Giving a brief synopsis of Ex-Parte Young,
303. “Young contended that he was merely acting for the state of
Minnesota when he sought to enforce its laws The Court disagreed

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holding that when a state official does something that is_
unconstitutional, the official cannot possibly be doing it in the name
of the state, because the Supremacy Clause of the Constitution means
that the Constitution overrides all the laws of the states invalidating

any contrary laws

304. Therefore, when a state official attempts to enforce an
unconstitutional law, that individual is stripped of his official
character. He becomes merely another citizen who can
constitutionally be brought before a court by a party seeking
injunctive relief.

305. The Court in laying out this doctrine, created two legal

fictions:

l l. That such a suit is not against the state, but merely against the individual
officer, who cannot be acting on behalf of the state when he enforces a law

that is unconstitutional; and

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2. An individual can be a state actor for Fourteenth Amendment purposes
(which only prohibits unconstitutional act by the state, and those who
represent it) while remaining a private person for sovereign immunity

purposes.”

306. Plaintiff places emphasis on the “duties”, of court officials
Court officials acting on behalf of the state are responsible for
enforcing that states laws Laws in general hold various degrees of
flexibility, which any Judge or acting Judiciary may apply or refrain
from at their leisure; however, a conflict arises when the laws that
bind these officials are either ignored or disregarded because they

conflict with the U.S. Constitution.

307. Conduct becomes particularly heinous when acting state
officials assume that a pro se litigant is ignorant of the law and begin

to apply illegal tactics
308. For this reason Plaintiff insist that this court render any
previous case law inoperative, and proceed with stripping the

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defendants of any immunity that they would invoke and demote the

Defendants to private citizenship.

A. Breach of Judiciary Dutv.
309. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above
310. Defendants owed Plaintiff a Judiciary duty as a result of their
position within the Court. Further, Referee Hoffman was a “presiding
official”, as was Referee Savin,.ludge Matthews and Judge Rosen,
who were obligated to initiate an investigation or allow evidence to be

entered for review.

311. The actions of the Defendants as described above constitute a
breach of their judiciary duties thereby causing Plaintiff damage for
which he sues Plaintiff further sues (each) Defendant for
disgorgement of all funds obtained as a result of the breach of

judiciary duties by Defendants and any of their agents or conspirators

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312. Defendants also owed Plaintiff a judiciary duty as a result of
their position, to investigate all allegations of child abuse, physical or

mental; as this is required by any state official.

313. Defendants have breached their duty of trust by nurturing an
illegal entity, using Plaintiffs’ funds to unjustly enrich an individual,
failing to adequately or timely document Plaintiffs concems failing to
put the interests of Plaintiffs minor child first and otherwise engaging
in the conduct complained of herein Defendants are strictly liable for
all losses suffered by Plaintiff as a result of Defendants’ breach of
their judiciary duties all for which Plaintiff sues Plaintiff also sues for

cost of future psychiatric counseling of Plaintiff and minor child

B. Uniust Enrichment.
314. Plaintiff realleges and incorporates as though fully set forth
herein, each and every allegation contained above
315. Defendants obtained funds and profits from Plaintiff by fraud
perpetrated by the Defendants and then contributed the funds to an

absentee third party. Defendants’ conduct gives rise to a cause of

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